 

U.S. DISTRICT COURT

NORTHERN DISTRICT OF TEXA:
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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF TEXAS
Amarillo Division OCT 16 2020

 

 

 

 

 

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CREMIRAB'E NSEPISTRICT CORE.
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v. Case Number: 2:19-CR-65-Z-BR=A1) “
U.S. Marshal’s No.: 58827-177
JONATHAN ANDREW DIETRICH Sean Jeffrey Taylor, Assistant U.S. Attorney

John T Floyd, Attorney for the Defendant

On June 10, 2020 the defendant, JONATHAN ANDREW DIETRICH, entered a plea of guilty as to
Count One of the Indictment filed on April 25, 2019. Accordingly, the defendant is adjudged guilty of such
Count, which involves the following offense:

18 ULS.C. § 371 CONSPIRACY TO COMMIT BANK FRAUD 04/25/2019 One

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to Title 18, United States Code § 3553(a), taking the guidelines issued by the United States Sentencing
Commission pursuant to Title 28, United States Code § 994(a)(1), as advisory only.

The defendant shall pay immediately a special assessment of $100.00 as to Count One of the Indictment
filed on April 25, 2019.

Upon Motion of the government, all remaining Courts are dismissed, as to this defendant only.
The defendant shall notify the United States Attorney for this district within thirty days of any change

of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid.

Sentence imposed October 15, 2020.

 

MATYHEW J. KACSMARYK
UNIJZED STATES DISTRICT JUDGE

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Title & Section Nature of Offense Offense Ended Count
Signed October 16, 2020.
 

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IMPRISONMENT

The defendant, JONATHAN ANDREW DIETRICH, is hereby committed to the custody of the Federal

Bureau of Prisons (BOP) to be imprisoned for a term of Forty Six (46) months as to Count One of the
Indictment filed on April 25, 2019.

The Court makes the following recommendations to the Bureau of Prisons:

1. that the Defendant be allowed to participate in any and all educational and vocational
training, if possible, agricultural science and animal husbandry training, if eligible, if
consistent with security classification; and

2. that the Defendant be assigned to a facility nearest Amarillo, Texas, if possible, FIC- El
Reno, if eligible, if consistent with security classification.

The Defendant shall surrender for Service of Sentence at the institution designated by the Bureau of

Prisons, before 2:00 p.m. (CDT) on Monday, November 30, 2020, as notified by the United States Marshal
or as notified by the pretrial office, at his own expense.

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of Two

(2) years as to Count One of the Indictment filed on April 25, 2019.

While on supervised release, in compliance with the Standard Conditions of supervision adopted by the

United States Sentencing Commission at Section 5D1.3(c), the defendant shall:

1.

The defendant shall report to the probation office in the federal judicial district where he or she is authorized
to reside within 72 hours of release from imprisonment, unless the probation officer instructs the defendant
to report to a different probation office or within a different time frame.

After initially reporting to the probation office, the defendant will receive instructions from the court or the
probation officer about how and when to report to the probation officer, and the defendant shall report to
the probation officer as instructed.

The defendant shall not knowingly leave the federal judicial district where he or she is authorized to reside
without first getting permission from the court or the probation officer.

The defendant shall answer truthfully the questions asked by the probation officer.

The defendant shall live at a place approved by the probation officer. If the defendant plans to change where
he or she lives or anything about his or her living arrangements (such as the people the defendant lives with),
the defendant shall notify the probation officer at least 10 days before the change. If notifying the probation
officer at least 10 days in advance is not possible due to unanticipated circumstances, the defendant shall
notify the probation officer within 72 hours of becoming aware of a change or expected change.

 
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6.

10.

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12.

13.

The defendant shall allow the probation officer to visit the defendant at any time at his or her home or
elsewhere, and the defendant shall permit the probation officer to take any items prohibited by the conditions
of the defendant's supervision that he or she observes in plain view.

The defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the
probation officer excuses the defendant from doing so. If the defendant does not have full-time employment
he or she shall try to find full-time employment, unless the probation officer excuses the defendant from
doing so. If the defendant plans to change where the defendant works or anything about his or her work
(such as the position or the job responsibilities), the defendant shall notify the probation officer at least 10
days before the change. If notifying the probation officer in advance is not possible due to unanticipated
circumstances, the defendant shall notify the probation officer within 72 hours of becoming aware of a
change or expected change.

The defendant shall not communicate or interact with someone the defendant knows is engaged in criminal
activity. If the defendant knows someone has been convicted of a felony, the defendant shall not knowingly
communicate or interact with that person without first getting the permission of the probation officer.

If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify the
probation officer within 72 hours.

The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or
dangerous weapon (i.e., anything that was designed, or was modified for, the specific purpose of causing
bodily injury or death to another person, such as nunchakus or tasers).

The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential
human source or informant without first getting the permission of the court.

If the probation officer determines that the defendant poses a risk to another person (including an
organization), the probation officer may require the defendant to notify the person about the risk and the
defendant shall comply with that instruction. The probation officer may contact the person and confirm that
the defendant has notified the person about the risk.

The defendant shall follow the instructions of the probation officer related to the conditions of supervision.

Also, as set forth in the Notice of Intent to Impose Conditions of Supervised Release signed and dated

October 15, 2020, the Defendant shall comply with the below-listed other conditions of supervised release,
which are derived from Sections 5D1.3(a), (b), (d), and (e), in relevant part:

1.

The defendant shall not be employed by, affiliated with, own or control, or otherwise participate, directly
or indirectly, in the business of farming or dairy operations without the probation officer's approval.

The defendant shall not enter into any self-employment while under supervision without prior approval of
the probation officer.

The defendant shall provide to the probation officer complete access to all business and personal financial
information.

 
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4. The defendant shall maintain not more than one business and/or one personal checking account, and shall
not open, maintain, be a signatory on, or otherwise use any other financial institution account without the
prior approval of the probation officer.

5. The defendant shall pay any remaining balance of the fine in the amount of $10,000, as set out in this
Judgment.

6. The mandatory drug testing condition is suspended, based on the Court’s determination that the defendant
poses a low risk of future substance abuse.

FINE/RESTITUTION

The Defendant is ordered to pay a fine of $10,000 through the Office of the U.S. District Clerk, 205 East
Fifth Avenue, Room 123, Amarillo, TX 79101-1559. The Court has determined that the Defendant does not
have the ability to pay interest; therefore, the interest requirement is waived pursuant to 18 U.S.C. § 3612(£)(3).
If, upon commencement of the term of supervised release, any part of the fine ordered by this judgment remains
unpaid, the Defendant shall make payments on such unpaid balance at the rate of at least $50 per month. The
first such payment shall be made no later than 60 days after the Defendant’s release from confinement and
another payment shall be made on the same day of each month thereafter until the fine is paid in full.

Restitution is applicable in this case. However, restitution in the amount of $1,413,011.17 has been paid
by the unindicted co-conspirator. Therefore, the restitution amount in this case is zero dollars.

RETURN

I have executed this judgment as follows:

 

 

 

Defendant delivered on to

at , with a certified copy of this judgment.

 

 

United States Marshal

BY
Deputy Marshal

 
